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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

: Consolidated Case No.
Appellant, > 2:14-ev-01725(CCC)

V.
: Appeal from Bankr. Case No.
710 LONG RIDGE ROAD OPERATING CO. : 13-13653(DHS)

IL, LLC, et al., :

Appellees

[PROPOSED] ORDER
The National Labor Relations Board (“NLRB”) has applied for an extension
of time to reply to supplemental briefs filed on October 6, 2023. The NLRB
requests an extension of time to file reply briefs to October 27, 2023. Appellees do
not object to this application.
For good cause shown, it is hereby ORDERED that the time for parties to

file their supplemental reply briefs is extended to October 27, 2023.

IT IS SO ORDERED.

BY THE COURT:

A,

Hon. Michael FE. Farbiarz
United States District Court Judge

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